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  EXHIBIT 26
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                                        Declaration of Kelly Miller
                                       Pursuant to 28 U.S.C. § 1746


        1.      I am an Assistant Federal Public Defender in the Office of the Federal Public
Defender for the Middle District of Pennsylvania. My office was appointed on February 22, 2017,
to represent Alejandro Enrique Ramirez Umafia in his proceedings challenging his convictions and
sentences under 28 U.S.C. § 2255 in Umana v. United States, 3:16-cv-00057 (W.D.N.C),
Following the Biden Administration's commutation of Mr. Umafia's death sentence, a Bureau of
Prisons (BOP) official told me, in calls on January 7, 2025, and January 8, 2025, that the
commutees would not automatically be sent to ADX, but would be considered for placement
options that included federal medical centers, mental health stepdown programs, and high security
penitentiaries, and that designation decisions would be made by the BOP. Subsequently, in a
conversation in February 2025, the same BOP official told me that BOP understood its directions
from the office of the Attorney General/Deputy Attorney General were to refer all of the
commutees to ADX.

        2.     Mr. Umafia was found indigent by the United States District Court for the Western
District of North Carolina in July 2010. That indigency finding has remained unchanged for the
duration of his proceedings in his criminal case and § 2255 proceedings. In providing this
declaration, I am not disclosing and do not intend to disclose any attorney-client privileged
communications that I have had with Mr. Umafia in the course of my representation of him.

         3.      On April 19, 2010, in United States v. Umana, 3:08-cr-134-2 (W.D.N.C.), a jury
returned a verdict finding Mr. Umafia guilty of Count 1 (RICO conspiracy, 18 U.S.C. § 1962(d));
Counts 22 and 24 (VICAR murder, 18 U.S.C. § 1959(a)(l)); Counts 23 and 25 (use and possession
of a firearm in relation to crimes of violence, 18 U.S.C. §§ 924(c) & G)(l)); Count 27 (illegal alien
in possession of firearm, 18 U.S.C. § 922(g)(5)); Count 28 (robbery affecting interstate commerce,
18 U.S.C. § 1951); Count 61 (conspiracy to commit witness tampering, 18 U.S.C. § 371); and
Count 63 (witness tampering, 18 U.S.C. § 1512(b)(l)).

       4.       On April 28, 2010, the jury returned sentences of death on Counts 22-25. On July
27, 2010, the United States District Court for the Western District of North Carolina entered
judgment sentencing Mr. Umafia to death on Counts 22-25; life imprisonment on Count 1; 120
months on Count 27; 240 months on Count 28; 60 months on Count 61; and 240 months on Count
63, with all terms to be served concurrently, except for the sentences of death on Counts 23 and
25, which were to be served consecutively.

       5.      Mr. Umafia has been confined in the Special Confinement Unit ("SCU") at USP-
Terre Haute since 2010.

       6.      On December 23, 2024, President Joseph R. Biden, Jr., commuted Mr. Umafia's
sentences of death to sentences of life imprisonment without the possibility of parole.



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        7.     On January 7, 2025, I attended a meeting, via Zoom, with Federal Bureau of Prisons
attorney Christopher Synsvoll and attorneys representing other men whose death sentences had
been commuted by President Biden ("the commutees"). The purpose of the meeting was for
attorney Synsvoll to advise all present as to the policies and processes that would apply to BOP's
rehousing of the commutees.

        8.       During the January 7, 2025, meeting, Mr. Synsvoll explained that the rehousing of
each commutee would be based on their individual circumstances, and described factors that BOP
would consider in the redesignation process. He said that the Unit Team in the SCU at USP-Terre
Haute would have input about where the commutees would be placed. He said that BOP gave the
orders to the SCU Unit Team the day prior to our Zoom meeting to prepare their input. He told us
that the Unit Team may need to meet with the commutees as the Unit Team prepared their input,
particularly if the commutee had never been housed in BOP general population before.

        9.     Mr. Synsvoll told us to send him a brief, formal, written submission outlining
factors we would like BOP to consider in the redesignation process. BOP personnel, including Mr.
Synsvoll, were meeting again on Tuesday (January 15, 2025). Mr. Synsvoll wanted us to send him
the written submissions with enough time to allow him to review the submissions prior to the
meeting.

         10.   Mr. Synsvoll told us that the written submission should include anything about our
client's medical or mental health that we wanted BOP to consider. Mr. Synsvoll told us that, to be
considered in the redesignation process, a Serious Mental Illness (SMI) diagnosis did not need to
come from BOP but could come from outside mental health experts. If we had mental health
information that we wanted to share with BOP for designation purposes, but needed to otherwise
keep confidential because of ongoing litigation in the criminal/2255 cases, Mr. Synsvoll said that
we should discuss those concerns with him and try to work out how to keep the information
confidential while still providing it to BOP to assist in the redesignation. Mr. Synsvoll stressed that
BOP needed the medical and mental health information we had about our clients to make the best
redesignation decision possible for each commutee.

         11.     Mr. Synsvoll told us that the written submission should also include anything about
our client's institutional adjustment that was not reflected in BOP's records, including any context
we could provide for disciplinary infractions. Mr. Synsvoll told us that BOP would consider
institutional adjustment in the redesignation process.

         12.     Mr. Synsvoll told us that if we wanted BOP to consider a specific institution or
region for placement, we should include that request in the written submission. For example, if the
commutee had family connections and there were geographic locations that would facilitate family
visitation, he told us to tell him that. Mr. Synsvoll also told us that BOP would consider legal team
proximity ifwe asked them to.

        13.     Mr. Synsvoll told us that he expected it would take a few weeks for BOP to make
its redesignation decisions and for transfers of the commutees to begin. He did not anticipate that

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the process would take months. He told us that the head of the Designation and Sentence
Computation Center would be the final decision maker on placements.

        14.      Mr. Synsvoll described several possible placement options to us. For example, he
told us about the two mental health stepdown units within BOP, one at USP-Allenwood and the
other at USP-Atlanta. He told us that if a commutee had SMI, as defined by the BOP program
statement, they could qualify for a mental health stepdown unit. He told us that the end goal of the
mental health stepdown units is to transition the inmate to an open population institution, typically
another USP. He told us that the placement timeline for the mental health stepdown units is usually
two to three months and that it might be possible to transfer a commutee with SMI to a mental
health facility such as MCFP-Springfield until a bed opened in one of the mental health stepdown
units.

         15.   Mr. Synsvoll also told us about the Secure Stages program, an 18-to-24-month
stepdown program focused on people with personality disorders located at USP-Florence. He told
us that there was a second Secure Stages unit expected to come online soon at USP-Allenwood.

         16.    Mr. Synsvoll also told us about the Secure Skills program for inmates with
Intellectual Disability. He told us that the Secure Skills program was not yet operational. He hoped
that it would be online in the next few months. It would also be located at USP-Allenwood.

       17.    Mr. Synsvoll also told us about the transitional care unit at USP-Allenwood for
inmates who could not step down; the Life Connections program located at Terre Haute; and
programs available for elderly inmates.

        18.     Mr. Synsvoll told us that transitional units are not single celled but are open housing
units with a cell mate. However, wardens have discretion to tailor transitional programming to
inmate needs. Mr. Synsvoll told us that, ifwe had expert information supporting the need for single
celling of the commutees, we should put that in our written submission to him.

         19.     Mr. Synsvoll also told us about SHU Alternatives, an alternative to placement in
Special Housing Units, which included psychiatric treatment and transition goals. He told us the
program focuses on life skills and institutional adjustment and currently existed at medium security
facilities, including FCI-Florence Medium. He told us that BOP was exploring whether it could
establish additional SHU Alternatives programs at some USPs.

        20.     Mr. Synsvoll told us that commutees with a Medical Care Level 4 were required to
be placed in a BOP medical facility and commutees with a Medical Care Level 3 may be placed
in a BOP medical facility. He told us that Mental Health Care Levels 3 and 4 would also be a
driving factor in determining placement. I understood that to mean that BOP had options in
designating the commutees; that Mental Health Care Levels 3 and 4 would be controlling factors
that would guide BOP's designation decisions, and that if I could provide BOP with evidence
demonstrating that Mr. Umana should be classified as a Mental Health Care Level 3 or 4 that this
classification could prevent his designation to ADX.


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        21.     Mr. Synsvoll described the facilities at ADX-Florence, including the Control Unit,
the general population step down unit, and the unit for elderly inmates. He told us that inmates
could be referred to the control unit for a recent, very serious violent act such as murder, serious
assault, or escape. The unit for elderly inmates was an available option for inmates 50 years old
and older who had no history of violence and currently had space to house additional inmates.

         22.    Mr. Synsvoll told us that any commutee placed in the ADX-Florence general
population stepdown program would initially be single celled regardless of their step in the
stepdown. He told us that a designation to the ADX stepdown program would not mean that the
commutee had to start at stage 1 of the stepdown program. He told us that BOP could place inmates
at the step equivalent of their current custody conditions in the SCU, which would make it possible
to complete stepdown more quickly. Mr. Synsvoll told us that BOP had internally discussed the
possibility of moving the commutees through any stepdown program quicker than an ordinary
inmate might move through it. BOP had discussed wanting to get the commutees into open
population units when they were ready.

        23.     Mr. Synsvoll told us that the ADX stepdown program is designed to take a
minimum of 27 months to complete. He told us that it is at least six months before an inmate in
the stepdown program has their first review, but BOP could and would review the commutees more
frequently if placed in the ADX stepdown program.

        24.    Mr. Synsvoll told us that there was no waitlist for the ADX stepdown unit. If a
commutee was designated to ADX stepdown, they could be placed in the appropriate step for them
right away as long as there were no separations or security issues that prevented their placement
with that cohort of inmates at that step.

        25.     Mr. Synsvoll told us that none of the commutees would go directly to a medium
security facility because none of the commutees had been in an open population situation.
However, he told us that the time an individual commutee spent in the SCU would count towards
the time needed to qualify for placement in a medium security facility. Mr. Synsvoll told us that
BOP had identified some commutees who could go to a medium security facility if they adjusted
well and quickly to the USP general population setting.

       26.    Mr. Synsvoll told us that convictions for prison killings would not result in an
automatic ADX placement, and that commutees' individual adjustment in the SCU would be
considered even if they had been convicted of a prison killing.

        27.     Mr. Synsvoll encouraged us to speak with him individually about our clients'
particular situations. He told us that he would tell us if we should anticipate an ADX referral at
individual meetings with him.

       28.     Mr. Synsvoll told us that the ADX designation process can be completed in as little
as four days. However, he told us that BOP wanted to take the time to make good decisions
regarding the commutees' redesignations.


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         29.   Mr. Synsvoll told us that BOP was discussing whether they could make changes in
the SCU at USP-Terre Haute to facilitate transition while the redesignation process was happening.
For example, they discussed whether they could provide the commutees increased time out of cell
now, to begin acclimating them to more time out of cell. BOP was also going to seek advice from
officials from the Oregon Department of Corrections regarding how Oregon transitioned their
death row inmates to general population when their sentences were commuted. Mr. Synsvoll said
that Director Peters was aware that the prospect of going directly to a mainline institution could
cause anxiety for the commutees. BOP was concerned about ensuring the safety of the commutees
during this process and facilitating a positive adjustment.

       30.     On January 8, 2025, my colleague, Assistant Federal Public Defender James
Lawley, and I met with Mr. Synsvoll via Microsoft Teams to discuss Mr. Umafia's case specifically.

         31.   During the January 8, 2025, call, Mr. Synsvoll told us that BOP was considering a
referral to general population at ADX-Florence for Mr. Umafia. Mr. Synsvoll told us that Mr.
Umafia would have the opportunity to participate in the stepdown program, but he did not know
at that time what step Mr. Umafia would start on.

         32.    After we summarized Mr. Umafia's mental health impairments, our conversation
focused on Mr. Umafia's intellectual disability. Mr. Synsvoll told us that inmates with intellectual
disability have difficulty completing the stepdown program at ADX. Mr. Synsvoll did not want
Mr. Umafia to be placed into a stepdown program that he could not complete because of his
intellectual disability. Mr. Synsvoll told us that a unit at USP-Allenwood, specifically tailored to
the needs of inmates with intellectual disability, was supposed to come online in the next couple
of months. Mr. Synsvoll told us to send him information about Mr. Umafia's impairments in
writing.

       33.    We also told Mr. Synsvoll that Mr. Umafia does not receive family visits and that
his primary source of support is his legal team. Mr. Synsvoll confirmed our location in
Pennsylvania and told us to include any request about geographic region in our written submission.

        34.      On January 13, 2025, I emailed Mr. Synsvoll a memorandum about Mr. Umafia's
mental health impairments, institutional adjustment considerations, and community ties. I
summarized information developed in Mr. Umafia's criminal trial and § 2255 proceedings
regarding      his   Intellectual     Disability,  Post-Traumatic      Stress  Disorder,     Brain
Damage/Neurocognitive Impairment, and Psychotic Symptomology; described BOP records
documenting his encounters with BOP psychological services; requested that Mr. Umafia's mental
health care level be increased; requested accommodation for his impairments in the transition
process; and stated his legal team's belief that ADX placement was inappropriate given Mr.
Umafia's mental health needs. I described ways in which Mr. Umafia's impairments have impacted
his institutional adjustment, including summarizing BOP records that show his adaptation and
acquisition of new skills is slow. I described how the solitary confinement conditions of the SCU
have had a negative impact on Mr. Umafia's mental health, including his legal team's observations
of exacerbation of his traumatic and psychotic symptomology during periods of increased social

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deprivation. Finally, I described Mr. Umafia's limited community ties in the United States and
stated my belief that a placement that facilitated contact with his Pennsylvania legal team would
be beneficial to his successful transition. I did not receive a written response from Mr. Synsvoll to
my email sending him this memorandum.

        35.    On January 14, 2025, I had a legal call with Mr. Umafia. He had received an
English-language form from psychological services that he tried to read to me. I observed that Mr.
Umafia had difficulty reading and understanding the form. From his attempt at reading, I discerned
that the form had to do with a psychological evaluation in connection with a referral to the ADX
generally, and possibly the ADX control unit specifically.

        36.    On January 14, 2025, I emailed Mr. Synsvoll to ask if BOP had decided to try to
designate Mr. Umafia to the ADX control unit; to explain that Mr. Umafia had received a form
from psychological services, in English, that he had difficulty understanding; and to ask for a copy
of the form Mr. Umafia had attempted to describe to me. I explained to Mr. Synsvoll that, given
Mr. Umafia's difficulty understanding and communicating what BOP's paperwork said, it was
impossible for me to give Mr. Umafia competent advice without a copy. On January 15, 2025, Mr.
Synsvoll responded to my email, provided me a blank copy of BOP's Notice of Psychological
Evaluation, reiterated that Mr. Umafia was being considered for referral to ADX general
population, and stated that he had provided USP-Terre Haute a copy of the form in Spanish and
asked that they use the Spanish form to again provide Mr. Umafia notice of the psychological
evaluation.

        37.     On January 28, 2025, I listened to parts of a meeting, via Zoom, between Mr.
Synsvoll and a group of attorneys representing commutees. I was boarding a plane from
Philadelphia to Indianapolis at the time of this meeting and have no independent recollection of
the specifics that were discussed.

        38.    On January 30, 2025, I emailed Mr. Synsvoll with additional information
concerning Mr. Umafia's mental health developed in connection with his§ 2255 proceedings and
asked Mr. Synsvoll if he could facilitate a mental health evaluation of Mr. Umafia to assess his
present functioning.

        39.     On February 11, 2025, having received information that the majority of the
commutees were going to be transferred to ADX-Florence, I emailed Mr. Synsvoll to ask if Mr.
Umafia was being referred to ADX and whether that referral was to general population or the
control unit. In response, Mr. Synsvoll and I scheduled a meeting for February 19, 2025.

       40.     On February 19, 2025, Assistant Federal Public Defender Lawley and I met with
Mr. Synsvoll via Microsoft Teams. Mr. Synsvoll told us that on Tuesday, February 11, 2025, the
BOP had been notified by the Attorney General's Office that all the commutees should be referred
to ADX-Florence. The Attorney General's Office directed BOP to complete the ADX referral
process within 60 days for all of the commutees. Mr. Synsvoll told us that Mr. Umafia's referral
would be to ADX-Florence, general population, maximum security.

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         41.    Mr. Synsvoll explained the ADX referral process to Mr. Lawley and me as follows:
Having received direction from the Attorney General's Office that all 34 of the commutees should
be referred to ADX-Florence, the next step was for the SCU Unit Team at USP-Terre Haute to
prepare the ADX referral packet. The Unit Team referral packet would include a cover letter or
memorandum discussing how the ADX referral criteria apply to the commutee; the commutees's
disciplinary history; the commutee's program review statement; and medical and mental health
screens. The Unit Team referral packet would be transmitted to North Central Regional Director
Matevousian. If Director Matevousian agreed that Mr. Umafia met the ADX referral criteria, the
referral would be transmitted to Rick Stover, Senior Deputy at the Designation and Sentence
Computation Center. If Senior Deputy Stover agreed that Mr. Umafia met the ADX referral criteria,
BOP would assign a hearing administrator. At the point in the process where a hearing
administrator was assigned, Mr. Umafia would receive formal notice of hearing for the ADX
referral. BOP regulations require 24-hour notice of the ADX hearing, but in practice, it is usually
a couple of days between the formal notice and the hearing. It would be up to Mr. Umafia whether
he wanted to participate in the hearing. He would not be required to participate in the hearing. But
if he did want to participate, BOP would assign a staff representative to help him if he asked for
one. Mr. Umafia would be allowed to present written statements at the hearing. If, following the
hearing, the hearing administrator decided that Mr. Umafia met the criteria for ADX, the referral
would be transmitted to BOP Assistant Director Shane Salem who would be the final decision
maker regarding the ADX referrals.

        42.     Mr. Synsvoll told us that Mr. Umafia would have access to step down programming
in the ADX general population unit. Mr. Synsvoll told us that, as of the morning of our
conversation, February 19, 2025, BOP was still planning to individually evaluate the commutees
to determine what step of the stepdown program they would be placed in based on their individual
needs. At that time, BOP was considering Mr. Umafia for the first step of the stepdown program.
Under ideal circumstances, the ADX general population stepdown program takes 27 months to
complete. Mr. Umafia would have his first review after 12 months. However, Mr. Synsvoll told us
that he is the "weatherman," and that "the weather can change at any moment." Mr. Synsvoll told
us that he would have a better idea about stepdown specifics as BOP continues discussions with
the Deputy Attorney General.

        43.     I asked Mr. Synsvoll if the information we had sent him about Mr. Umafia's mental
health would follow Mr. Umafia through all steps of the ADX referral process. Mr. Synsvoll told
us that it would. My question prompted Mr. Synsvoll to review his emails to confirm that he had
shared the information we had provided him with the appropriate people. As he was reviewing his
emails, he said that he was keeping "all [his] emails" about the commutees' redesignation process.

        44.    After reviewing his emails, Mr. Synsvoll told us that Dr. Guitierez with BOP
psychological services had reviewed the information we had sent to Mr. Synsvoll. On January 23,
2025, Dr. Guitierez determined that Mr. Umafia met the mental health exclusion criteria for the
ADX. Mr. Synsvoll told us that, because of BO P's determination that Mr. Umafia met the mental
health exclusion criteria, Mr. Umafia's process would contain an additional step than the process
he had previously described. For Mr. Umafia, the next step would be a meeting of a committee

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tasked with deciding whether institutional security concerns would require Mr. Umafia's placement
at the ADX despite BOP's determination that he met the mental health exclusion criteria. Mr.
Synsvoll told us that this committee would be meeting on Monday and Tuesday of the following
week (February 24-25, 2025). He told us that he expected Mr. Umafia would be notified in writing
of the committee's decision within about a week of the committee's meeting.

         45.     Mr. Synsvoll told us that, because Mr. Umana met the mental health exclusion
criteria, his referral process would likely move slower than other commutees because of the extra
step of the security committee. For Mr. Umafia, the SCU Unit Team would prepare the ADX
referral packet after it was decided that institutional security needs overrode the mental health
exclusion. Mr. Synsvoll told us that, if it was decided that institutional security needs overrode the
mental health exclusion, it would likely be a couple of weeks until Mr. Umafia received formal
notice of ADX referral and had his hearing.

        46.    Mr. Synsvoll told us that, if Mr. Umafia was sent to ADX despite meeting the mental
health exclusion criteria, he would be reviewed more frequently than other inmates to determine
whether institutional security concerns continued to override the mental health exclusion. Instead
ofreceiving a review at 12 months, Mr. Umafia would be reviewed every six months.

       47.     I asked Mr. Synsvoll if he could email me copies of any formal documents BOP
provides to Mr. Umafia regarding the referral process. Mr. Synsvoll told me that he would email
me a copy of the decision of the security committee and any further referral to the ADX.

        48.    Mr. Synsvoll advised us to ensure that Mr. Umafia exhausted his administrative
remedies and fully administratively appealed all decisions. Mr. Synsvoll told us that the first
adverse decision that Mr. Umafia would need to challenge through the normal administrative
remedy process would be the decision that security needs overrode Mr. Umafia's mental health
exclusion. Mr. Synsvoll told us that Mr. Umafia should grieve all adverse decisions he receives
through the normal administrative remedy process except for the final decision designating him to
the ADX. Mr. Synsvoll told us that, for the final decision designating him to ADX, Mr. Umafia
would have 30 days to appeal directly to general counsel at BOP's central office.

       49.      On March 3, 2025, I emailed Mr. Synsvoll to ask if a decision had been made about
the potential security override of Mr. Umafia's mental health exclusion. On March 6, 2025, Mr.
Synsvoll responded that he was still waiting for the final decision paperwork.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my
personal knowledge, information, and belief, subject to 28 U.S.C. § 1746.



Executed on:
                                                      Kelly Miller



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